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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                               2:S11-cr-108-FtM-29SPC


MAURICE COLBERT
MATTHEW ROLLINS
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on Defendants Maurice

Colbert’s and Matthew Rollins’ Motion for Judgment of Acquittal,

Notwithstanding the Verdict, or in the Alternative, for a New Trial

(Docs. ## 223, 226.)         The United States filed a Consolidated

Response (Doc. #227) in opposition.

      The legal principles that apply in deciding a motion for a

judgment of acquittal under Federal Rule of Criminal Procedure

29(c) are well-established:

      In considering a motion for the entry of a judgment of
      acquittal, a district court must view the evidence in the
      light most favorable to the government, and determine
      whether a reasonable jury could have found the defendant
      guilty beyond a reasonable doubt. The prosecution need
      not rebut all reasonable hypotheses other than guilt.
      The jury is free to choose between or among the
      conclusions to be drawn from the evidence presented at
      trial, and the district court must accept all reasonable
      inferences and credibility determinations made by the
      jury.    The District Court’s determination that the
      evidence introduced at trial was insufficient to support
      the jury’s verdict of guilt is [an] issue of law entitled
      to no deference on appeal.
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United States v. Miranda, 425 F.3d 953, 959 (11th Cir. 2005)

(quoting United States v. Sellers, 871 F.2d 1019, 1021 (11th Cir.

1989)(internal citations omitted)). “It is not necessary that the

evidence exclude every reasonable hypothesis of innocence or be

wholly inconsistent with every conclusion except that of guilt,

provided that a reasonable trier of fact could find that the

evidence established guilt beyond a reasonable doubt.”               United

States v. Merrill, 513 F.3d 1293, 1299 (11th Cir. 2008) (internal

quotation marks and citation omitted).         Applying these principles

to the evidence presented in this case, the Court finds that the

government met its burden as to all of the elements of each count

upon which a conviction was found, and that a reasonable jury could

have found defendant guilty beyond a reasonable doubt as to the

counts   of   conviction.     Therefore,    Defendants’    motions   for   a

Judgment of Acquittal will be denied.

      Defendants also maintain that a new trial should be granted in

the interest of justice under Fed. R. Crim. P. 33 because the

verdicts are contrary to law, the evidence, and the manifest weight

of the evidence.       Unlike a Rule 29 motion, Rule 33 allows the

district court to weigh the evidence and consider the credibility

of the witnesses, although to grant such a motion “[t]he evidence

must preponderate heavily against the verdict, such that it would

be a miscarriage of justice to let the verdict stand.”          Butcher v.

United States, 368 F.3d 1290, 1297 (11th Cir. 2004). Applying this


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standard to the evidence presented at trial, it is the Court’s view

that the verdicts of guilty are not against the weight of the

evidence.      Having    heard   the    evidence    and   making    independent

credibility determinations, the Court fully agrees with the guilty

verdicts in this case.

      Finally, the Court continues to be of the view that the

suppression of the Title III materials was not appropriate.                   The

unspecified evidentiary errors raised in the motion do not support

either a new trial or a judgment of acquittal.

      Accordingly, it is now

      ORDERED:

      1.    Defendant     Maurice      Colbert’s   Motion   for    Judgment    of

Acquittal, Notwithstanding the Verdict, or in the Alternative, for

a New Trial (Doc. # 223) is DENIED.

      2.     Defendant    Matthew      Rollins’    Motion   for    Judgment    of

Acquittal, Notwithstanding the Verdict, or in the Alternative, for

a New Trial (Doc. # 226) is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this                15th   day of

March, 2013.




Copies:
Counsel of Record

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